This is an appeal by the defendant from an order denying his application to have the care, custody, and control of Frank Strawn, aged ten, and Mary Jane, aged eight, the minor children of the parties, transferred from the plaintiff, their mother, to the defendant. [1] The appeal is based upon the contention of the defendant that the evidence is insufficient to support the conclusion of the trial court that the mother is a fit and proper person to have the custody of her children. *Page 675 
The order was discretionary and may not be set aside except for an abuse of discretion. A review of the record discloses that the evidence was sufficient to support the order and that the trial court was properly guided by the considerations prescribed by section 246 of the Civil Code. No abuse of discretion is shown.
The judgment is affirmed.
Richards, J., and Langdon, J., concurred.